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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA                               FILED
                                                                                         SEP 16 2020
THOMAS GLASS,                                   )                                  Clerk, U.S. District & Bankruptcy
                                                )                                  Court for the District of Columbia
                Plaintiff,                      )
                                                )
        v.                                      )       Civil Action No. 20-2480 (UNA)
                                                )
                                                )
SCHNEIDER NATIONAL                              )
LOGISTICS CO. et. al.,                          )
                                                )
                 Defendants.                    )


                                   MEMORANDUM OPINION

        This matter is before the Court on its initial review of plaintiff’s pro se complaint and

application for leave to proceed in forma pauperis. The Court will grant the application and

dismiss the case for lack of subject matter jurisdiction.

        The subject matter jurisdiction of the federal district courts is limited and is set forth

generally at 28 U.S.C. §§ 1331 and 1332. Under those statutes, federal jurisdiction is available

only when a “federal question” is presented or the parties are of diverse citizenship and the

amount in controversy exceeds $75,000. “For jurisdiction to exist under 28 U.S.C. § 1332, there

must be complete diversity between the parties, which is to say that the plaintiff may not be a

citizen of the same state as any defendant.” Bush v. Butler, 521 F. Supp. 2d 63, 71 (D.D.C.

2007) (citing Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365, 373-74 (1978)). A party

seeking relief in the district court must at least plead facts that bring the suit within the court’s

jurisdiction. See Fed. R. Civ. P. 8(a). Failure to plead such facts warrants dismissal of the

action. See Fed. R. Civ. P. 12(h)(3).




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        Plaintiff, a resident of Maryland, has sued a business entity allegedly “doing business in

the City of Carlisle, County of Cumberland, State of Pennsylvania,” for “Breach of Contract.”

Compl., ECF No. 1 at 1. Such a claim must proceed, if at all, under the court’s diversity

jurisdiction. It is a “well-established rule” that in order for an action to proceed in diversity, the

citizenship requirement must be “assessed at the time the suit is filed.” Freeport-McMoRan, Inc.

v. K N Energy, Inc., 498 U.S. 426, 428 (1991). To that end, “the citizenship of every party to the

action must be distinctly alleged [in the complaint] and cannot be established presumptively or

by mere inference.” Meng v. Schwartz, 305 F. Supp. 2d 49, 55 (D.D.C. 2004). Consequently, an

“‘allegation of residence alone is insufficient to establish the citizenship necessary for diversity

jurisdiction.’” Novak v. Capital Mgmt. & Dev. Corp., 452 F.3d 902, 906 (D.C. Cir. 2006)

(quoting Naartex Consulting Corp. v. Watt, 722 F.2d 779, 792 n.20 (D.C. Cir. 1983)).

       Plaintiff has pled no facts from which the Court can ascertain each party’s citizenship,

nor has he pled an amount in controversy. Therefore, this case will be dismissed for want of

jurisdiction. A separate order accompanies this Memorandum Opinion.



                                                       ___________s/_______________
                                                       RUDOLPH CONTRERAS
                                                       United States District Judge
Date: September 16, 2020




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